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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

IN RE: VALEANT PHARMACEUTICALS
INTERNATIONAL, INC., SECURITIES ORDER
LITIGATION

Civil Action No. 15-7658 (MAS) (LHG)

IN RE: VALEANT PHARMACEUTICALS
INTERNATIONAL, INC., THIRD-PARTY Civil Action No. 16-3087 (MAS) (LHG)
PAYOR LITIGATION

This matter comes before the Court upon the Court's review of correspondence submitted
by Valeant Pharmaceuticals International, Inc. (“Valeant”) and all Defendants in the above
referenced matters. (Defs.’ Correspondence, ECF No. 471.)' The correspondence confirmed
Valeant’s and Defendants’ consent to the appointment of the Honorable Dennis M. Cavanaugh,
U.S.D.J. (ret.), as special master in these matters. (/d. at 1.) The correspondence was submitted
in response to the Court’s July 10, 2019 Order providing the parties notice of the Court’s
consideration of appointing Judge Cavanaugh. (See July 10. 2019 Text Order, ECF No. 464.) The
Court also provided the parties an opportunity to object to Judge Cavanaugh’s appointment and
identify any potential conflicts under 28 U.S.C, § 455. Ud.)

The process of appointing a special master began with the Court’s February 15, 2019
Order. (Feb. 15, 2019 Order, ECF No. 421.) The Court found that the level of case management
required by these matters suggested that the appointment of a special master pursuant to Federal

Rule of Civil Procedure 53 (“Rule 53”)? may be appropriate. (/d. at 3.) The Court, accordingly,

' Unless otherwise noted, all record citations are to In re: Valeant Pharmaceuticals International,
Inc., Securities Litigation (In re Valeant), No. 15-7658 (13 t).

* All references to a Rule herein are references to a Federal Rule of Civil Procedure.
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provided the parties notice and the opportunity to be heard regarding the parties’ consent or
opposition to the appointment of a special master; the parties’ positions on the items identified in
Rule 53(b)(2); and any other issues the parties wanted to raise with the Court. (ld.)

On February 22, 2019, all of the parties in In re Valeant and Plaintiffs in In re Valeant
TPP? (the “Responding Parties”) submitted joint correspondence. (Feb. 22, 2019 Correspondence
(“Joint Correspondence I”), ECF No. 422.) Responding Parties consented to the appointment of a
special master for discovery purposes and did not consent to the special master resolving
substantive motions, including motions pursuant to Rules 12, 15, 23 and 56. (/d. at 1.) In separate
correspondence, Responding Parties submitted their positions on numerous issues identified in
Rule 53(b)(2). (See Mar. 1, 2019 Correspondence, ECF No. 425.)

Andrew Davenport and Philidor RX Services also submitted correspondence. (Feb. 22,
2019 Correspondence (“Philidor Correspondence”), Jn re Valeant TPP, ECF No. 107.) They did
not consent to the special master resolving two items which have since been resolved or mooted:
(1) a Motion to Continue Stay in Jn re Valeant TPP; and (2) a request for leave to file an amended
complaint. (See Joint Correspondence I at 1; Philidor Correspondence at 1.) The Jn re Valeant
PP Plaintiffs submitted separate correspondence stating that they consented to the special master
resolving these two issues. (Feb. 22, 2019 Correspondence, Jn re Valeant TPP, ECF No. 108.)
On April 12, 2019, the Court denied the Motion to Continue Stay. (Opinion & Order, Jn re Valeant
IPP, ECF No. 119.) On June 21, 2019, Plaintiffs in In re Valeant TPP filed a Motion to Amend.
(Mot. to Amend, Jn re Valeant TPP, ECF No. 130.)

The Court has carefully considered the parties’ positions, and finds as follows:

1. Pursuant to Rule 53(a)(1)(A), the parties have consented to a special master for
discovery purposes, and pursuant to Rule 53(a)(1)(C), a special master is necessary

* The Court refers to In re: Valeant Pharmaceuticals Iniernational, Inc., T. hird-Party Payor
Litigation, 16-3087 (D.N.J.), as “Jn re Valeant TPP”.

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to “address pretrial . . . matters that cannot be effectively and timely addressed by”
the Court.

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Judge Dennis M. Cavanaugh, U.S.D.J. (ret.), is well qualified for appointment as
special master because he served the District of New Jersey as a District Judge for
fourteen years and as a Magistrate Judge for seven years.

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In accordance with Rule 53(b)(3), Judge Cavanaugh submitted an affidavit to the
Court attesting that pursuant to 28 U.S.C. § 455 no grounds for disqualification
exist. (ECF No. 465.)

4, Based on Judge Cavanaugh’s affidavit, the Court is satisfied that there are no
grounds to disqualify Judge Cavanaugh under 28 U.S.C. § 455.

For the foregoing reasons, and other good cause shown,
IT IS on this 10" day of September 2019, ORDERED as follows:

1. Judge Dennis M. Cavanaugh, U.S.D.J. (ret.), is hereby appointed as a Special
Master in the actions listed above.

2. The Special Master is appointed to complete the following tasks:
a. address and resolve all pending and future discovery disputes:

b. address all pending and future motions pursuant to Rules 12, 15, 23, 50. 56, and
all other pre-trial motions: and

c. when appropriate, facilitate settlement discussions among the parties.

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The Special Master shall proceed with all reasonable diligence in completing the
tasks assigned by this Order.

4. The Clerk of Court shall administratively terminate In re: Valeant Pharmaceuticals
International, Inc., Securities Litigation, No. 15-7658 (D.N.J .), and all associated
cases that have been coordinated or consolidated with the matter.’

3. The Clerk of Court shall administratively terminate Jn re: Valeant Pharmaceuticals
International, Inc., Third-Party Payor Litigation, 16-3087 (D.N.J.), and all
associated cases.”

6, By September 30, 2019, the parties shall submit joint correspondence to the
Special Master identifying any pending disputes and issues and the priority of each.

* Upon an appropriate application, the Court will reopen Jn re Valeant or an associated matter.

* Upon an appropriate application, the Court will reopen /n re Valeant TPP.

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Te By September 30, 2019, the Special Master shall inform the parties of his and, if
applicable, his Associate’s rates.

8. The Special Master, at his sole discretion, may coordinate with the Special Master
in Valeant Pharmaceuticals International, Inc. v. AIG Insurance Company of
Canada, No. 18-493 (D.N.J.), so long as said coordination does not violate the
rights of any party or non-party.

5. The Special Master shall decide all discovery disputes and non-dispositive issues
and issue appropriate written orders regarding the same. Pursuant to Rule
53(f)(1), (2), the parties may object to, move to adopt, or move to modify an order
pursuant to this paragraph within 21 days of the day the order is entered on
CM/ECF. Any party opposing the objection or motion shall file a responsive brief
within 14 days of the day the objection or motion is filed. The moving party may”
file a reply to any opposition within seven days of the day the opposition was filed.
The Honorable Lois H. Goodman, U.S.M.J., shall resolve any objections or motions
pursuant to this paragraph. The parties may appeal any decision by Judge Goodman
pursuant to this paragraph according to the procedures provided for in Local Civil
Rule 72.1(c)(1).

10. The Special Master shall issue proposed findings of fact and reports and
recommendations (collectively, “R&R”) on all dispositive issues. Pursuant to Rule
53(f)(1), (2), a party or non-party may object to, move to adopt, or move to modify
an R&R within 21 days of the day the R&R is entered on CM/ECF. The
Undersigned shall perform a de novo review of those portions to which a specific
objection is made and may accept, reject, or modify, in whole or in part, the R&R.

11, Appeals of an order by the Special Master or an R&R shall be reviewed according
to the following standards of review: findings of fact shall be reviewed de novo,
conclusions of law shall be reviewed de novo, and rulings on procedural and
non-dispositive matters shall be reviewed for abuse of discretion.

I. The Special Master shall maintain a complete record of the evidence considered in
making or recommending findings of fact.

13. All substantive hearings before the Special Master shall be stenographically
recorded by a court reporter, subject to the Special Master’s preferences and the
agreement of the parties. The court reporter shall provide the Special Master a copy
of the transcript. The Special Master shall preserve the transcript and provide it to
the Court upon the Court’s request. Expenses related to the court reporter shall be
considered expenses of the Special Master and reimbursed according to paragraph
21 below.

14. The Special Master may employ up to three Associates to assist in completion of
the tasks assigned by this Order. Any Associates employed pursuant to this
paragraph do not exercise the powers of the Special Master. Prior to beginning
work on this matter, any Associate employed pursuant to this paragraph must
submit a Declaration attesting that no grounds exist for disqualification pursuant to
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28 U.S.C. § 455. Any Associate employed pursuant to this paragraph must be a
member of the New Jersey Bar in good standing.

15. The parties shall provide the Special Master with any protective order and
confidentiality order in force in the above referenced matters. The Special Master
may consent to be bound by the same, and the Special Master’s consent shall not
be unreasonably withheld. Disclosure of privileged or protected information or
materials to the Special Master or an Associate shall not be considered a waiver of
any applicable privilege or confidentiality agreement in the above referenced
matters or any other action or proceeding.

16. The Special Master and Associate(s) shall enjoy the same protections from being
compelled to give testimony and from liability and damages as those enjoyed by
other federal judicial adjuncts performing similar functions,

EG The Special Master shall have the sole discretion to determine the appropriate
procedure for resolution of all assigned tasks and shall have the authority to take all
appropriate measures to perform the assigned tasks. The Special Master’s
procedures shall comply with the Federal Rules of Civil Procedure, the Local Civil
Rules, and any applicable statute or regulation.

18. The Special Master may impose upon a party any sanction, other than contempt,
provided for by Rules 37 or 45, and may recommend a contempt sanction against a
party and a sanction against a non-party.

19. The parties and their counsel shall not engage in any ex parte communication with
the Special Master and the Special Master shall not engage in ex parte
communication with any of the parties or their counsel, except the Special Master,
the parties or their counsel may communicate ex parte regarding administerial
matters. These same restrictions apply to communications with an Associate
working with the Special Master.

20. The Special Master may communicate ex parte with the Court at the Special
Master’s discretion and the Court may communicate ex parte with the Special
Master at the Court’s discretion.

21. The Special Master shall be paid at a reasonable rate per hour for work reasonably
and efficiently completed pursuant to this Order. The Special Master shall be
reimbursed for all reasonable expenses incurred. The Special Master shall keep
contemporaneous records of time and services rendered, using 1/10-hour minimum
billing units, and expenses. The records must identify for which matter the services
were rendered or expenses incurred. The Special Master shall submit such
reimbursement requests on a monthly basis, via e-mail message, beginning in
October 2019, to the Court and to the parties in the format prescribed by Local Civil
Rule 54.2. The Special Master shall issue separate reimbursement requests for In
re Valeant and In re Valeant TPP. The parties shall have 10 days to file specific
objections to any portion of the reimbursement request. If no objection is filed. the
parties shall have 30 days from receipt of the request to reimburse the Special
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Master. If an objection is filed, the parties shall have 30 days from receipt of the
reimbursement request to reimburse the Special Master for all uncontested portions
of the reimbursement request. After providing the Special Master a reasonable
opportunity to respond to the objections, the Undersigned will review any
objections to a reimbursement request and enter an order determining the final
amount of reimbursement. This paragraph shall also apply to any Associates
employed by the Special Master.

22. The plaintiffs in the Securities Class Action shall pay 50% of the Special Master’s
monthly reimbursement request, and the defendants in the Securities Class Action
shall pay 50% of the Special Master’s monthly reimbursement request. Counsel
for Lead Plaintiff shall meet and confer with other plaintiffs’ counsel to apportion
each plaintiff's share of the Special Master’s monthly reimbursement request.
Valeant’s counsel shall meet and confer with other defendants’ counsel to apportion
each defendant’s share of the Special Master's monthly reimbursement request.

23. The plaintiffs in the TPP Litigation shall pay 50% of the Special Master’s monthly
reimbursement request, and the defendants in the TPP Litigation shall pay 50% of
the Special Master’s monthly reimbursement request. Plaintiffs’ counsel shall meet
and confer to apportion each plaintiff's share of the Special Master’s monthly
reimbursement request. Valeant’s counsel shall meet and confer with other
defendants’ counsel to apportion each defendant’s share of the Special Master’s
monthly reimbursement request.

3/ Michael A. Shipp
MICHAEL A. SHIPP
UNITED STATES DISTRICT JUDGE

